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                 IN THE UNITED STATES DISTRICT COURT
                    NORTHERN DISTRICT OF GEORGIA
                          ATLANTA DIVISION


JAMIL ABDULLAH AL-AMIN,                  *           CIVIL ACTION NO.
                                         *           1:12-CV-1688-AT-GGB
         Petitioner,                     *
                                         *
v.                                       *           HABEAS CORPUS
                                         *           28 U.S.C. § 2254
DAVID EBBART, Warden, and                *
HOMER BRYSON, Commissioner,              *
Georgia Department of Corrections,       *
                                         *
         Respondents.                    *

                      RESPONSE IN OPPOSITION TO
              PETITIONER’S MOTION TO EXPAND THE RECORD
                               (Doc. 101)

      COMES NOW Respondent Bryson, through counsel, and makes this his

response in opposition to Petitioner’s motion to expand the record to include

materials from the Federal Bureau of Investigation and a declaration from

Petitioner’s lead defense counsel at his state criminal trial, by showing and stating

as follows:

                                          1.

      Nearly three years after this petition was filed, Petitioner has moved to

expand the record to include: (a) documents he obtained from the Federal Bureau

of Investigation (“FBI”) in response to requests under the Freedom of Information

Act (“FOIA”); and (b) a declaration from John R. Martin, who was Petitioner’s
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lead defense counsel at trial and on direct appeal from the Fulton County

convictions and sentences challenged in this case. (Doc. 101). Respondent

opposes the motion to expand the record to include these materials.

                                            2.

      As to the FBI materials, Petitioner does not set forth any details regarding

when he made the FOIA requests and when he obtained the information from the

FBI that he now proffers. (Doc. 101 at 2). Instead, he references testimony given

at a hearing in June 2001 and documents purportedly showing the FBI’s continued

investigation of Petitioner in March 2000, information that is not new. Respondent

opposes the attempt to expand the record to include this information which

Petitioner failed to present to the state courts.

                                            3.

      The record from the state collateral attack shows that, in his “Memorandum

of Law in Support of Petition for Writ of Habeas Corpus” filed in Tattnall County

on November 14, 2005, Petitioner asserted in issue 7 that he was in the process of

seeking disclosure of federal documents under the Freedom of Information Act.

Petitioner never mentioned any FOIA requests during the February 27, 2007,

habeas corpus hearing. (Doc. 1-3). In the amendment he filed in open court at the

start of the February 27th hearing, Petitioner alleged in ground 1(D) that there are

“certain issues which are clearly constitutional violations, but which cannot and



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have not been fully developed due to uncooperative witnesses and due to the

inability of Al-Amin to gain access to documents the federal government is

withholding and has continued to withhold for many years. . . .” (Doc. 1-7 at 4).

In subsection (2) under 1(D), Petitioner addressed the issue of surveillance of

Petitioner on the night of the offenses and posited that those records would

allegedly show Petitioner is innocent. Id. at 5. Yet, when the state habeas corpus

court called the case for hearing and asked Petitioner if he was ready to proceed,

Petitioner’s counsel responded, “We are Your Honor.” (Doc. 1-3 at 2, 4). There

was a discussion about having a second hearing to bring in additional witnesses

who were not available that day. Id. The “only other prehearing issue” Petitioner

identified was his attempt to get a report from the FBI via subpoena, to which the

FBI filed a motion to quash, and the motion to quash was heard. Id. at 13-21.

Counsel for the FBI pointed out that federal records belonged to the respective

federal agency(ies) and that a federal judge could examine any documents under

seal in camera to determine if the FBI was unreasonably withholding anything. Id.

at 21. The state habeas court granted the motion to quash. Id. In the wake of this

ruling, Petitioner made no mention of any FOIA requests or their status, and he

never asked for a continuance or opportunity to present information to the state

habeas corpus court obtained under FOIA. Thus, Petitioner made no attempt to

present FOIA documents to the state habeas corpus court. The state habeas corpus



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court found that the Brady v. Maryland, 373 U.S. 83 (1963), claim, based on the

FBI’s alleged failure to produce FOIA documents purportedly showing there was

surveillance of Petitioner, was procedurally defaulted under O.C.G.A. § 9-14-48(d)

as the issue was not timely raised at trial and on direct appeal. (Doc. 1-2 at 31).

                                          4.

        For all these reasons, Respondent submits that Petitioner should not be

permitted to expand the record to include FOIA documents that he did not attempt

to present to the state courts.

                                          5.

        As for the declaration of Mr. Martin, Respondent submits this Court may not

consider the declaration in determining whether the Georgia Supreme Court’s

decision on a Fifth Amendment claim on direct appeal1, which is raised as claim I

of the third amended federal petition (Doc. 99 at 91), warrants deference under 28

U.S.C. § 2254(d). Mr. Martin’s declaration is not and was not part of the state

court record on direct appeal. In Cullen v. Pinholster, ____ U.S. ___, 131 S.Ct.

1388, 1398 (2011), the Supreme Court held that review by a federal court under 28

U.S.C. § 2254(d)(1) of a state court’s merits decision must be based solely only on

the record that was before the state court when it adjudicated the claim on the

merits. See also French v. Warden, Wilcox State Prison, 2015 U.S. App. LEXIS


1
    See Al-Amin v. State, 278 Ga. 74, 84(15), 597 S.E.2d 332 (2004).

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10620 at *10 (11th Cir. June 23, 2015); Lucas v. Warden, Ga. Diagnostic &

Classification Prison, 771 F.3d 785, 791 (2014).

                                 CONCLUSION

      Wherefore, Respondent Bryson prays that the Court deny Petitioner’s

motion to expand the record.

                                      Respectfully submitted,


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                                      s / Paula K. Smith _______________
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                         CERTIFICATE OF SERVICE

      I do hereby certify that I have this day served the foregoing RESPONSE, by

filing the same electronically with the CM/ECF system:


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      This _5th day of August, 2015.




                                     s / Paula K. Smith______________
                                     Paula K. Smith
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